Case 19-02764-jw         Doc 27      Filed 06/24/19 Entered 06/24/19 10:02:30                Desc Main
                                     Document      Page 1 of 2


                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION


IN RE:                                          )
                                                )
Sand Castle South Timeshare Owners Association, )
                                                  CASE NO: 19-02764-JW
Inc.,                                           )
                                                  CHAPTER 11
                                                )
                                                )
               Debtor.                          )


                                     NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that the undersigned, as counsel for Sand Castle South Homeowners

Association, Inc., a creditor herein, hereby enters her appearance in the above-captioned case and requests

that her name and address be added to the mailing matrix for purpose of receiving copies of all pleadings,

notices, and orders.




                                                 /s/Kristen N. Nichols
                                                 Kristen N. Nichols
                                                 District Court ID: 9770
                                                 Turner Padget Graham & Laney P.A.
                                                 40 Calhoun Street, Suite 200 (29401)
                                                 P.O. Box 22129
                                                 Charleston, SC 29413
                                                 Telephone: (843) 576-2836
                                                 Fax: (843) 577-1628
                                                 KNichols@tunerpadget.com

                                                 Attorneys for Sand Castle South
                                                 Homeowners Association, Inc.

Charleston, South Carolina
June 24, 2019




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Case 19-02764-jw        Doc 27      Filed 06/24/19 Entered 06/24/19 10:02:30             Desc Main
                                    Document      Page 2 of 2


                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISION

IN RE:                                          )
                                                )
Sand Castle South Timeshare Owners Association, )
                                                  CASE NO: 19-02764-JW
Inc.,                                           )
                                                  CHAPTER 11
                                                )
                                                )
               Debtor.                          )

                                   CERTIFICATE OF SERVICE

        I, Kristen N. Nichols, do hereby certify that on June 24, 2018, I served on the persons below a
copy of the Notice of Appearance in the above-referenced matter either by CM/ECF electronic mail or by
depositing same in the United States Mail with sufficient postage affixed and addressed as follows:

Sand Castle South Timeshare Owners Association, Inc.
One Vance Gap Road
Asheville, NC 28805
Debtor

Julio E. Mendoza, Jr.
Via CM/ECF
Counsel for Debtor

US Trustee’s Office
Via CM/ECF
US Trustee


                                               /s/Kristen N. Nichols
                                               Kristen N. Nichols


Charleston, South Carolina
June 24, 2019




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